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9
10                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
11                                  SAN FRANCISCO DIVISION
12

13   ASETEK DANMARK A/S,                            CASE NO. 3:19-cv-00410-EMC

14                        Plaintiff and             ASETEK DANMARK A/S’S AND ASETEK
                          Counterdefendant,         USA, INC.’S NOTICE OF MOTION AND
15                                                  MOTION TO EXCLUDE OPINIONS OF
     ASETEK USA, INC.,                              MR. JOHN L. HANSEN CONCERNING
16                                                  COOLIT’S DAMAGES
                          Counterdefendant,
17
                   v.                               Date:        May 5, 2022
18                                                  Time:        1:30 PM
     COOLIT SYSTEMS, INC.,                          Location:    Courtroom 5, 17th Floor
19                                                  Judge:       Hon. Edward M. Chen
                          Defendant and
20                        Counterclaimant,

21   COOLIT SYSTEMS USA INC., COOLIT
     SYSTEMS ASIA PACIFIC LIMITED,
22   COOLIT SYSTEMS (SHENZHEN) CO.,                             REDACTED VERSION
     LTD.,
23
                          Defendants,
24
     CORSAIR GAMING, INC. and CORSAIR
25   MEMORY, INC.,

26                        Defendants.

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28
                                                                        ASETEK’S MOTION TO EXCLUDE OPINIONS
                                                                   OF J. HANSEN CONCERNING COOLIT’S DAMAGES
                                                                                 CASE NO. 3:19-CV-00410-EMC
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1                                          NOTICE OF MOTION

2           TO ALL PARTIES AND THEIR RESPECTIVE COUNSEL OF RECORD:

3           PLEASE TAKE NOTICE THAT on May 5, 2022 at 1:30 p.m. in Courtroom 5, located on

4    the 17th Floor of the above-entitled court at 450 Golden Gate Avenue, San Francisco, California, or a

5    soon thereafter as the matter may be heard before Honorable Edward M. Chen, Plaintiff and

6    Counterdefenant Asetek Danmark A/S and Asetek USA, Inc. will and hereby do move to exclude

7    certain opinions of Mr. John L. Hansen concerning CoolIT’s damages.

8           This Motion is based upon this Notice of Motion, the accompanying Memorandum of Points

9    and Authorities, the Declaration of Jeffrey D. Smyth and the exhibits thereto, the [Proposed] Order
10   filed concurrently herewith, all other papers or pleadings in this action, evidence and argument that
11   the parties may present before or at the hearing on this matter, and any other matters of which this
12   Court may take judicial notice.
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1    II.     FACTUAL BACKGROUND

2            A.     Asetek’s Patents Cover a Complete Liquid Cooling Device

3            Andre Eriksen, CEO of Asetek, invented pioneering liquid cooling technology that created

4    the now thriving market for liquid cooling devices and he obtained patents that cover a complete

5    cooling system. Prior art liquid cooling systems were bulky and risked leakage with several

6    components coupled together using tubes. Such a configuration is illustrated below in Prior Art

7    Figure 3 of Asetek’s ’362 patent, showing a prior art heat exchanger 7, a prior art liquid reservoir 8,

8    a prior art pump 9, and a prior art heat radiator 11 connected in a closed loop using tubes. See, e.g.,

9    Ex. 2, Fig. 3 (prior art). Mr. Eriksen invented a novel design that combined several prior art
10   components into a compact configurations that are now often referred to as an “all-in-one” pump
11   head coupled to a radiator and fan. See id., Fig. 8.
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20   Asetek’s patent claims are directed to complete liquid cooling device systems that have, among other
21   features, a pump unit that combines a pump, reservoir, and heat exchanging interface (i.e., a cold
22   plate) into a single component, and also elements, including a radiator and a fan, to form a complete
23   liquid cooling system as shown in the embodiment in Figure 8 above.
24           B.     The Asserted Claims of CoolIT’s Patents are All Directed to a Cold Plate
                    Component in a Liquid Cooling System
25

26           All of the asserted claims in the CoolIT patents are directed to a “fluid heat exchanger”
27   (Smyth Decl., ¶ 15), which CoolIT’s technical expert confirmed is the cold plate component of a
28   liquid cooling system during his deposition. See Ex. 3 at 2. The Court agreed in its claim
                                                                                 ASETEK’S MOTION TO EXCLUDE OPINIONS
                                                            2               OF J. HANSEN CONCERNING COOLIT’S DAMAGES
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1    construction order, based on CoolIT’s expert’s testimony as well as the Court’s detailed examination

2    of the specifications of CoolIT’s patents. See Dkt. 149 at PDF pp. 19-25 (ruling that the claimed

3    “fluid heat exchanger” is not the liquid cooling system, but instead is limited to the cold plate, i.e., a

4    “component that transfers heat from a heat source to a cooling liquid circulated by a pump that is

5    external to the component.”). Moreover, in the claim construction order, the Court specifically

6    distinguished CoolIT’s claims directed to a “fluid heat exchanger,” which are limited to the cold

7    plate component, from CoolIT’s claims directed to “heat exchange systems,” which are directed to

8    liquid cooling systems. Id. at 22. At this juncture of this case, all of CoolIT’s remaining asserted

9    claims are directed to a “fluid heat exchanger” (the cold plate). Smyth Decl., ¶¶ 15-16.
10          CoolIT’s asserted patent claims are directed to specific embodiments of “split flow” cold
11   plates. The concept of split flow cold plates was not new; it was known for years before CoolIT filed
12   its patents. Indeed, Asetek used a split flow cold plate in a prior art Asetek product (Antarctica)
13   asserted against CoolIT in this action. Smyth Decl., ¶ 17. During his deposition, CoolIT’s expert, Dr.
14   Pokharna, confirmed that the “fluid heat exchanger” claimed in CoolIT’s patents refers only to the
15   cold plate component, which he annotated as shown below during his deposition:
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26   Ex. 3 at 2; see also Dkt. 149 at PDF p. 24. CoolIT’s expert also separately labeled the pump
27   components in his annotation shown above. The pump components are some of the many
28   components in Asetek’s and CoolIT’s liquid cooling system products outside the scope of all of the
                                                                                  ASETEK’S MOTION TO EXCLUDE OPINIONS
                                                         3                   OF J. HANSEN CONCERNING COOLIT’S DAMAGES
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1    (then Asetek’s largest customer) in exchange for a minimum-purchase requirement and a running

2    royalty of between 2% and 7% (depending on purchase volume). Asetek’s damages expert, Dr.

3    Mody, previously opined that because of the supplier-customer relationship between Asetek and

4    Corsair at that time, and because of the sliding scale royalty rates and minimum purchase

5    requirements, that 2012 license had an effective royalty rate between 10-19%, which was terminated

6    in January 2013. The Federal Circuit upheld a challenge to Asetek’s damages expert opinion on that

7    point in Asetek Danmark A/S v. CMI USA Inc., 852 F.3d 1352 (Fed. Cir. 2017). On the other hand,

8                                                                                                 (Ex. 4, ¶ 74),

9    which is essentially the same argument advanced by prior Defendant CMI USA and which was
10   rejected by the Federal Circuit. See Asetek, 852 F.3d at 1362-63 (rejecting argument that maximum
11   royalty rate was 7%).
12          Although the Asetek-Corsair license agreement concerns Asetek’s patents covering entire
13   liquid cooling system products,

14                                                                                             . Ex. 1 at

15   189:12-21.

16                                                                                                            .

17   Ex. 4, ¶¶ 13-14.

18          E.      Mr. Hansen Has Unreasonably Relied on Another CoolIT Expert’s
                    Unsupported and Unexplained Opinion That CoolIT’s Patents Are More
19                  Valuable Than Asetek’s

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23                      (Ex. 4, ¶ 96),

24                                 (id., ¶ 91), but Dr. Abraham’s opinion is unsupported and unreliable. Dr.

25   Abraham did not disclose that opinion in either of his expert reports and the underlying methodology

26   by which he supposedly reached that conclusion, if any, is unclear. Dr. Abraham did not speak to

27   any customers to understand what features they find valuable or their views on the value of Asetek’s

28   or CoolIT’s patents. Ex. 7 at 113:11-14; Ex. 8 at 177:23-178:7. Instead, Dr. Abraham—who is not an
                                                                                 ASETEK’S MOTION TO EXCLUDE OPINIONS
                                                         7                  OF J. HANSEN CONCERNING COOLIT’S DAMAGES
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1    economist or expert in the valuation of intellectual property—appears to have just relied on his

2    “experience.” Ex. 8 at 176:17-178:7.

3           Dr. Abraham’s plucked-from-thin-air 20%—his only attempt at concrete numbers to provide

4    an air of credibility to his opinions—is unreliable and irrelevant. Mr. Hansen said in his report that

5    Dr. Abraham informed him that that there are five primary systems in the accused liquid cooling

6    devices and “the cold plate is at least as important as the other systems, contributing at least 20% of

7    the value of the product” (Ex. 4, ¶ 91), but Dr. Abraham was adamant that he did not tell Mr. Hansen

8    that the CoolIT patents-in-suit contribute 20% of the value of the Asetek accused products. Ex. 7 at

9    151:18-152:1, 155:1-23. In his deposition,
10                       (Ex. 1 at 203:19-205:8), which demonstrates that Dr. Abraham’s 20% figure is
11   not reliable and not appropriate for use in damages calculations. Dr. Abraham claimed his 20% is
12   merely a “performance value,” though it is unclear what that means. Id. And as mentioned, Dr.

13   Abraham admitted that he did not tell Mr. Hansen that the CoolIT patents-in-suit contribute 20% of

14   the value of the Asetek accused products. Id. at 155:1-23.

15          Moreover, Mr. Hansen’s and Dr. Abraham’s opinions concerning the relative value of the

16   Asetek and CoolIT patents do not address the objective evidence showing that the Asetek patents are

17   far more valuable that the CoolIT patents. For example, Dr. Abraham and Mr. Hansen did not

18   discuss or consider CoolIT’s poor-selling Domino ALC product as part of their valuation discussion.

19   Ex. 4, ¶¶ 61, 81-93; Ex. 9 at 33:19-34:17.

20                                                                                             . Ex. 12 at

21   100:2-101:8; Ex. 13 at 2. In the Domino ALC, the pump is located in the radiator.

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                                                                                 ASETEK’S MOTION TO EXCLUDE OPINIONS
                                                        8                   OF J. HANSEN CONCERNING COOLIT’S DAMAGES
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1    Ex. 13 at 2 (annotated). Thus, the Domino ALC represents a liquid cooling product that isolates

2    CoolIT’s split flow patents from Asetek’s patents.

3                                                    . Ex. 9 at 33:19-34:17.

4

5                     Ex. 6 at 146:12-147:16.

6                                                                                                         . See id.

7    Mr. Hansen’s analysis, which ignores objective evidence such as CoolIT’s minimal sales of the

8    Domino ALC and relies instead on conclusory opinions from Dr. Abraham, is unreliable.

9    III.      ARGUMENT
10             A.     Legal Standards
11             Federal Rule of Evidence 702 allows a jury to hear expert testimony only if its proponent can
12   establish that the testimony is based on “sufficient facts or data,” is the “product of reliable
13   principles and methods,” and if it “will help the trier of fact to understand the evidence or determine
14   a fact in issue.” Fed. R. Evid. 702; Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 592-97
15   (1994). The district court's “gatekeeping obligation” applies to all types of expert testimony. Kumho
16   Tire Co. v. Carmichael, 526 U.S. 137, 147 (1999). Like any expert testimony, expert opinions
17   concerning patent damages must be based on sound economic principles and reliable data. See
18   Uniloc USA, Inc. v. Microsoft Corp., 632 F.3d 1292, 1315 (Fed. Cir. 2011). The Court has an
19   obligation to shield the jury from unreliable opinions that violate established apportionment
20   standards. Virnetx, 767 F.3d at 1328-29.
21             B.     Because There is No Evidence that CoolIT’s Asserted Patent Claims
                      Drive Demand for Asetek’s Products, Mr. Hansen Cannot Rely on the
22                    Entire Market Value Rule
23             For over a decade the Federal Circuit has held that where the patented component is but one
24   component of a multi-component product, calculating reasonable royalty damages by using the
25   revenue of the entire product as a royalty base “carries a considerable risk that the patentee will be

26   improperly compensated for non-infringing components of that product.” LaserDynamics, 694 F.3d

27   at 67; see also Power Integrations, Inc. v. Fairchild Semiconductor Int’l, Inc., 904 F.3d 965, 977

28   (Fed. Cir. 2018). Where a patent covers only a component of an accused product, the Federal Circuit
                                                                                    ASETEK’S MOTION TO EXCLUDE OPINIONS
                                                         9                     OF J. HANSEN CONCERNING COOLIT’S DAMAGES
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1    usually requires that any asserted damages for infringement must apportion between the patented

2    feature(s) of the accused product and the non-patented features of the accused product.

3    LaserDynamics, 694 F.3d at 67. One narrow exception to the general requirement for apportionment

4    is the entire market value rule, which may only be used if the patentee shows that its patented feature

5    drives the demand for an entire multi-component product. Id. If the patentee succeeds in making that

6    showing, then the patentee may be awarded damages as a percentage of revenues or profits

7    attributable to sales of the entire product. Id. But if the patentee cannot meet that burden, then the

8    patentee must begin at a more realistic starting point. Id., see also Ex. 1, ¶ 82.

9           Mr. Hansen’s grossly overstated damages opinion uses as a royalty base of about
10           in revenue for sales of Asetek’s complete products; Mr. Hansen’s royalty base is not limited
11   to revenues attributable to the cold plate covered by the patent claims asserted by CoolIT. Because

12   Mr. Hansen has not opined or contended that CoolIT’s patented features drive demand for Asetek’s

13   entire products, he cannot use the entire market value rule to justify his use of Asetek’s

14   as his royalty base. He must choose a more realistic starting point.

15          In LaserDynamics, the Federal Circuit vacated a damages verdict because the expert

16   improperly used the entire market value for a royalty base in calculating damages. To avoid errors

17   that result from improper use of the entire market value rule, the Federal Circuit has approved of

18   using the smallest saleable patent practicing unit (“SSPPU”) to establish the royalty base, which

19   helps ensure that damages are commensurate in scope with the harm caused by the infringement.

20   See, e.g., Virnetx, 767 F.3d at 1327 (“[T]he smallest salable unit approach was intended to produce a

21   royalty base much more closely tied to the claimed invention than the entire market value of the

22   accused products.”).

23          LaserDynamics is particularly instructive because there the patentee was awarded damages

24   based on the value of an entire laptop when the patent covered only a disk drive, much like the way

25   CoolIT seeks damages based on the value of an entire liquid cooling system as its royalty base, even

26   though CoolIT’s patents cover only a cold plate. The Federal Circuit noted that because the royalty

27   was expressly calculated as a percentage of the value of the laptop, the expert opinion was “by

28   definition” an application of the entire market value rule and it could not stand absent evidence that
                                                                                  ASETEK’S MOTION TO EXCLUDE OPINIONS
                                                         10                  OF J. HANSEN CONCERNING COOLIT’S DAMAGES
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1             C.     Mr. Hansen Did Not Apportion His Royalty Base, And Instead
                     Disregarded His Own Calculation That Only About 2.9% Of Asetek’s
2                    Revenue Is Attributable to CoolIT’s Asserted Patent Claims

3             Mr. Hansen stated in his report that where the entire value of a device is not attributable to

4    the patented feature “courts must insist on a more realistic starting point for the royalty calculations

5    by juries—often, the smallest salable unit and, at times, even less.” Ex. 4 at ¶ 82 (quoting Ericsson,

6    Inc. v. D-Link Sys., Inc., 773 F.3d 1201 (Fed. Cir. 2014)). Accordingly, he analyzed the profit

7    attributable to the cold plate in the accused Asetek devices (see id. at ¶¶ 84-89) and concluded that

8    his

9                                                                                                Id., ¶ 93. From
10   there, if Mr. Hansen had properly started from the SSPPU, he should have multiplied Asetek’s

11            in revenues from sales of accused products by         and reached a royalty base of no more

12   than                . But Mr. Hansen and CoolIT clearly did not like the results of Mr. Hansen’s

13   calculation and the implications for the appropriate royalty base, so Mr. Hansen simply ignored his

14   own calculation and used a non-apportioned royalty base of                    to calculate damages. This

15   was improper and in violation of the Federal Circuit’s clear authority. And furthermore, Mr. Hansen

16   should not be permitted to mislead the jury by giving lip service to the requirement for

17   apportionment, claiming that did so in calculating his         figure, and then burying it by instead

18   using Asetek’s full                in revenue as his royalty base.

19            D.     Mr. Hansen Did Not Apportion His Royalty Rate

20            Mr. Hansen’s failure to use a more realistic royalty base is compounded by his failure to

21   apportion his royalty rate.

22                                                                                                             .

23   Ex. 1 at 176:23-177:4. To the contrary, Mr. Hansen applied his understanding of the maximum

24   royalty rate under the Asetek-Corsair license to the maximum royalty base (Asetek’s

25   revenue from sales of the accused products). This was improper and contrary to Federal Circuit

26   requirements.

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                                                                                  ASETEK’S MOTION TO EXCLUDE OPINIONS
                                                         12                  OF J. HANSEN CONCERNING COOLIT’S DAMAGES
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1                   1.      Mr. Hansen did not apportion the royalty rate from the Asetek-
                            Corsair license, and he should not have relied upon that license
2                           anyway because it is not comparable to the license that could have
                            resulted from the hypothetical negotiation.
3

4

5                                                                                             . Ex. 6 at

6    150:19-23; 152:6-23; 157:2-24.

7                                           alone calls into question Mr. Hansen’s opinion that Asetek

8    would agree to give CoolIT 7% of its total revenue for a license to CoolIT’s patents.

9                                                                          , Mr. Hansen used the Asetek-
10   Corsair license (a license for Asetek’s patents) as a proxy, but he did not account or apportion for the
11   technological and scope differences between the patents. The Federal Circuit has cautioned that
12   “district courts performing reasonable royalty calculations [must] exercise vigilance when
13   considering past licenses to technologies other than the patent in suit.” ResQNet.com, Inc. v. Lansa,
14   Inc., 594 F.3d 860, 869 (Fed. Cir. 2010). In ResQNet, the Federal Circuit vacated a damages award
15   where the district court relied on license agreements for royalty damages but did not include any
16   factual findings discussing or accounting for the technological and economic differences in the
17   circumstances. ResQNet, 594 F.3d at 873. “A reasonable royalty based on such speculative evidence
18   violates the statutory requirement that damages under § 284 be ‘adequate to compensate for the
19   infringement.’” Id. And in LaserDynamics, the Federal Circuit criticized the district court for
20   allowing an expert to testify about licenses when comparability of those licenses with the
21   hypothetical negotiation was not established, commenting that “[w]hen relying on licenses to prove a
22   reasonable royalty, alleging a loose or vague comparability between different technologies or
23   licenses does not suffice.” LaserDynamics, 694 F.3d at 79-80.
24          Under ResQNet and LaserDynamics, Mr. Hansen was at a minimum required to adjust his
25   assessment of reasonable royalty damages to reflect the differences between (1) the licensed Asetek

26   patents (which cover full liquid cooling product systems) and corresponding royalty base in the

27   Asetek-Corsair license as compared to (2) the CoolIT patents (which cover only the cold plate) and

28   the corresponding smaller royalty base in the hypothetical negotiation. Mr. Hansen did not do so,
                                                                                 ASETEK’S MOTION TO EXCLUDE OPINIONS
                                                        13                  OF J. HANSEN CONCERNING COOLIT’S DAMAGES
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1    to the Accused Operating Systems” would be appropriate. NetFuel, 2020 WL 1274985, at *6. The

2    plaintiff argued these opinions were reliable because the technical expert considered:

3            (1) industry research (including Defendant’s own statements concerning the
                security, reliability, and availability of the Accused Operating Systems);
4            (2) his knowledge and understanding of the Accused Devices (gained by his
                review of Cisco-produced technical documents and his testing of the Accused
5               Devices);
             (3) his knowledge and understanding of Defendant’s networking operating
6               systems (gained by his extensive review of Cisco-produced technical
                documents and by his review of Cisco operating system source code);
7            (4) his experience and specialized expertise in computer networking and security;
                and
8            (5) his expert knowledge of the nature and function of routers and switches.

9    Id. The court rejected those arguments, finding that the technical expert’s opinions were an
10   impermissible “black box” without sound economic principles and factual predicates. Id. at *7. The
11   court further noted that “experience” does not constitute facts or data that would be necessary to
12   render the opinion reliable. Id. Vigorous cross-examination would not cure the problem, because
13   without a methodology, cross examination is futile. Id. And because the opinions of the technical
14   expert were unsound, the damages expert could not rely on them to support his apportionment
15   analysis. Id., n.5.
16           Mr. Hansen’s and Dr. Abraham’s opinions suffer from the same problems as the experts in
17   NetFuel, at least because they presented no reliable facts or data to support their

18   understanding/opinion that CoolIT’s patents are more monetarily valuable than Asetek’s patents. Of

19   CoolIT’s experts, Mr. Hansen is the one experienced in financial, economic, and accounting matters.

20   Mr. Hansen has

21                     and

22   Ex. 4, ¶ 2. But Mr. Hansen did not offer an opinion concerning the relative value of the CoolIT

23   patents and Asetek patents. Mr. Hansen relied exclusively on Dr. Abraham for that valuation

24   analysis.

25           Dr. Abraham is a technical expert, not an economist. He did not provide an economic

26   analysis to Mr. Hansen. See Ex. 7 at 151:25-152:1 (“I’m not providing an economic analysis, and I

27   did not provide an economic analysis to Mr. Hansen.”). Indeed, Dr. Abraham does not appear or

28   claim to be qualified to opine on the monetary value of the Asetek patents or the CoolIT patents, let
                                                                                 ASETEK’S MOTION TO EXCLUDE OPINIONS
                                                        15                  OF J. HANSEN CONCERNING COOLIT’S DAMAGES
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1    alone to compare the values of the two. Moreover, Dr. Abraham based his opinion on his own

2    “experience,” and did not speak to any customers—including Corsair—concerning the relative value

3    of the Asetek and CoolIT patents. Ex. 7 at 113:4-22; Ex. 8 at 176:16-178:7. But experience is not

4    facts, data, or a reliable methodology necessary to render an expert opinion reliable. See NetFuel,

5    2020 WL 1274985, at *7; see also GPNE Corp. v. Apple, Inc., Case No. 12-CV-02885-LHK, 2014

6    WL 1494247, at *5 (N.D. Cal. Apr. 16, 2014) (excluding damages expert testimony and noting that

7    “‘30 years of experience’ does not constitute ‘sufficient facts or data,’ or ‘reliable principles and

8    methods.’”). Neither Dr. Abraham nor Mr. Hansen provided an explanation for how they weighed

9    the relative “value” of the Asetek patents and CoolIT patents, nor did they provide any quantitative
10   or scientific analysis on which his opinions were allegedly based. 6 This is the exact type of “black
11   box” analysis thrown out in GPNE and NetFuel, and which the Court should exclude here.

12          The present circumstances are also similar to those in Open Text S.A. v. Box, Inc., Case No.

13   13-CV-04910-JD, 2015 WL 349197 (N.D. Cal. Jan. 23, 2015). There, shortly before trial, the court

14   excluded a damages expert who did not apportion the royalty base between patented and unpatented

15   features and could not explain how she reached a 15% royalty rate. Id. at *4. Judge Donato

16   commented that the link between the inputs and conclusion, if any, was “written in invisible ink,”

17   and that the expert’s opinions should be excluded. Id. at *6. “Rather than spelling out the steps she

18   took to go from the data to the royalty rate opinion, [the expert] cites her ‘experience’—an

19   abstraction not visible to the eyes of the Court, the jury, and opposing counsel, or testable in the

20   crucible of cross-examination.” Id. The same is true in this case. Dr. Abraham’s approach to

21   determining the CoolIT patents are allegedly more valuable than the Asetek patents, if any, is a

22   “black box.” Any math that Mr. Hansen employed in concluding that the relative valuation supports

23   a royalty of 7% is, at best, “written in invisible ink.” Opinions like these are not testable through

24   cross-examination, and instead require exclusion, as in Open Text.

25

26

27          6
              The CoolIT patents would need to be 34 times more valuable than the Asetek patents to
     offset Mr. Hansen’s opinion that only 2.9% of Asetek’s revenue is attributable to CoolIT’s patents
28   (2.9% ÷ 100% = 34.5).
                                                                                  ASETEK’S MOTION TO EXCLUDE OPINIONS
                                                        16                   OF J. HANSEN CONCERNING COOLIT’S DAMAGES
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1           Instead, the objective evidence shows CoolIT’s patents are not as valuable as Asetek’s. For

2    example,

3                                                                 . Ex. 9 at 33:19-34:17. Mr. Hansen and

4    Dr. Abraham did not consider this product when considering the relative value of Asetek’s and

5    CoolIT’s patents.

6           The only seemingly quantitative valuation analysis recounted in Mr. Hansen’s report is Dr.

7    Abraham’s alleged statement that the cold plate contributes 20% of the value of the accused products

8    (Ex. 4, ¶ 91), but Mr. Hansen’s expert report is incorrect on this point because Dr. Abraham testified

9    that he did not provide such a valuation to Mr. Hansen. Ex. 7 at 155:1-5 (“Q. [D]id you give an
10   opinion to Mr. Hansen that the technology claimed in the CoolIT patents-in-suit contributes at least
11   20 percent of the value of the Asetek accused product? A. No, that is not what I said to Mr.
12   Hansen.”); see also 152:3-154:25. To the contrary, what Dr. Abraham did is arbitrarily identify “five
13   primary systems” and then state that the relative performance value of the cold plate to the other
14   primary systems (it is one of five systems) is at least 20%. Ex. 7 at 107:9-109:3, 147:19-148:6. Mr.
15   Hansen confirmed that Dr. Abraham’s “analysis” related to a relative “performance value” and is not
16   an indication that CoolIT’s patents contribute 20% of the revenue or profit. Ex. 1 at 204:4-205:8.
17   How this played into Mr. Hansen’s economic analysis is an unreliable, unexplained mystery and no
18   basis for presentation to the jury. Notably, under this rubric the “performance value” of Asetek’s
19   patents would be 100%, because the Asetek patent claims cover all five of Dr. Abraham’s “primary
20   systems.” Again, as in Open Text and GPNE and NetFuel, it is not at all clear how, if at all, Mr.
21   Hansen relied on “analysis” from Dr. Abraham, or how Dr. Abraham’s 20% opinion influenced Mr.
22   Hansen’s conclusions.
23          For all these reasons, Mr. Hansen’s application of a 7% royalty to the entire market value of
24   Asetek’s products fails to apportion in contravention of Federal Circuit requirements grossly
25   overestimates CoolIT’s damages, and should be excluded.
26

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                                                                               ASETEK’S MOTION TO EXCLUDE OPINIONS
                                                       17                 OF J. HANSEN CONCERNING COOLIT’S DAMAGES
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1           E.      Mr. Hansen’s Royalty Base Improperly Includes a Portion of Overseas
                    Sales to Corsair That He Speculates Are Later Sold in the U.S.
2

3           In addition to Mr. Hansen’s improper use of the entire value of Asetek’s products to

4    construct his royalty base, he further inflates the royalty base by adding                    of non-

5    infringing sales made outside of the United States, which Mr. Hansen speculates without direct

6    support are later shipped into the U.S. by Corsair.

7           The Federal Circuit rejects damages awards that are based on speculation and guesswork. For

8    example, in Wordtech Systems, Inc v. Integrated Networks Solutions, Inc., 609 F.3d 1308, 1318-20

9    (Fed. Cir. 2010), the Federal Circuit reversed and remanded for a new trial on damages where the
10   alleged royalty base was calculated using a “phantom value” derived by a non-expert from the
11   Defendant’s invoices, and the royalty base number changed between the trial and appeal without
12   explanation. Id.; see also Oiness v. Walgreen Co., 88 F.3d 1025, 1033, 39 U.S.P.Q.2d 1304 (Fed.
13   Cir. 1996) (award of lost future profits reversed and noting “[w]ithout credible economic testimony,
14   this court cannot permit a jury to base its award on speculation.”). And the Federal Circuit rejects
15   damages awards that include non-infringing sales. See, e.g., Enplas Display Device Corp. v. Seoul
16   Semiconductor Co., Ltd., 909 F.3d 398, 412 (Fed. Cir. 2018) (vacating $4 million damages award
17   because “damages calculated by applying a royalty to sales of non-accused lenses cannot support a
18   jury’s verdict on damages.”). As in the above cases, Mr. Hansen’s estimated damages are unreliable
19   because, aside from resorting to improper speculation, he has no basis to understand that the revenue
20   relates to acts of infringement.
21          To support his addition of              to the royalty base, Mr. Hansen also engages in some
22   specious calculations that were pre-designed to arrive at his conclusion regardless of the inputs.

23                                                                                                   . 7 Ex. 11.

24   Next, using Asetek’s total worldwide revenue for sales to Corsair

25
            7
              Those percentages come from a 2021 Corsair 10Q statement and a 2020 Corsair 10K
26   statement, but the sales percentages are not specific to liquid cooling products, and instead include
     more broadly “gaming keyboards, mice, headsets, controllers, and streaming gear, which includes
27   capture cards, Stream Decks, USB microphones, studio accessories and EpocCam software,” among
     other things. Ex. 10, ¶¶ 29-34; Ex. 1 at 158:17-24. CoolIT and Mr. Hansen did not obtain more
28   accurate or granular information from Corsair.
                                                                                  ASETEK’S MOTION TO EXCLUDE OPINIONS
                                                        18                  OF J. HANSEN CONCERNING COOLIT’S DAMAGES
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1

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3                    Id. (This number is not determined by actual confirmed U.S. sales or U.S. sales data.)

4    From that $              speculative/assumed figure,

5                                                                                   ). Id. Mr. Hansen is left

6    with a figure                —that he then calls “additional U.S. revenue” that he adds to his royalty

7    base. And Presto! This magically amounts to the speculative                      assumption he started

8    with, which would be the result under his “formula” regardless of the actual documented sales

9    number (provided it was less than his assumed                         ). Id.
10

11

12                                                                           Ex. 1 at 161:10-162:14. This

13   specious formula and analysis has no merit at all, and is the result of pure speculation. It is not

14   reliable evidence of Asetek’s alleged infringing sales.

15

16                                        Id. at 167:19-168:1.

17          Moreover, because CoolIT has the burden of establishing its damages, and because it is

18   indemnifying Corsair and represented by the same counsel, CoolIT and Mr. Hansen could have, and

19   should have, obtained actual, reliable data from Corsair, which they needed to ensure that Mr.

20   Hansen was not required to resort to pure speculation. Id. at 166:4-167:12; see also Monolithic

21   Power Sys., Inc. v. O2 Micro Int’l Ltd., 476 F. Supp. 2d 1143, 1155-56 (N.D. Cal. 2007) (granting

22   summary judgment finding the patentee could not prove damages where damages expert report was

23   flawed and patentee did not obtain information its expert needed during discovery). In Eidos

24   Display, LLC v. Chi Mei Innolux Corp., Case No. 11-CV-00201-JRG, 2017 WL 1322555, at *6

25   (E.D. Tex. Apr. 6, 2017), the Court rejected an expert’s attempt to rely on general statistics and data

26   from 10-K forms “to expand or infer damages for indirect sales.” The Court limited the expert’s

27   damages opinions to “only where there is specific evidence of importation or sales by a specific

28   customer.” Id. The same logic applies here. Mr. Hansen cannot rely on Corsair’s general sales
                                                                                    ASETEK’S MOTION TO EXCLUDE OPINIONS
                                                        19                   OF J. HANSEN CONCERNING COOLIT’S DAMAGES
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1    Dated: March 31, 2022             FINNEGAN, HENDERSON, FARABOW,
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2

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